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 1                                                         THE HONORALBE R
                          IN THE UNITED STATES DISTRICT COURT
 2                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 3

 4   UNITED STATES OF AMERICA,
                                                       NO. CR 17-00136 TSZ
 5                          Plaintiff,
                                                      ORDER ON EMERGENCY MOTION
 6                   v.                               FOR TEMPORARY MODIFICATION
                                                      OF CONDITIONS OF RELEASE
 7   MEIFANG YU AND HOANG LE,

 8
                            Defendants.
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            THIS MATTER, having come on before the Court on Defendants’ Motion,
11
     docket no. 135, for Temporary Modification of Conditions of Release and the Court
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     having considered the records and files herein and the jointly submitted motion, and that
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     the motion is not being made for purposes of delay or any other improper motive and that
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     the ends of justice will be served and outweigh the best interests of the public and these
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     Defendants, NOW THEREFORE
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            IT IS HEREBY ORDERED that Defendants Meifang Yu and Hoang Le’s motion
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     is GRANTED and the defendants are allowed to speak to each other, via telephone
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     conference on December 4, 2017, at 11 am, or on a date and time mutually agreeable to
19
     both parties.
20
            ENTERED this 30th day of November, 2017.
21

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23
                                                           A
                                                           Thomas S. Zilly
24                                                         United States District Judge

25   ORDER ON EMERGENCY                                             JEFFREY STEINBORN, PLLC
     MOTION- 1                                                          THE DIAMOND BUILDING
                                                                    3161 ELLIOTT AVENUE, SUITE 340
26                                                                   SEATTLE, WASHINGTON 98121
                                                                   (206) 622-5117 • FAX: (206) 622-3848
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25   ORDER ON EMERGENCY                                    JEFFREY STEINBORN, PLLC
     MOTION- 2                                                 THE DIAMOND BUILDING
                                                           3161 ELLIOTT AVENUE, SUITE 340
26                                                          SEATTLE, WASHINGTON 98121
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